Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 1 of 45




                    EXHIBIT 4
'   ....' .                 Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 2 of 45



               UNITED STATES DISTRICT COURT
                                                                I6MAG 8347
               SOUTHERN DISTRICT OF NEW YORK

                    In the Matter of Warrants for All Content
                    and Other Information Associated with the                     TO BE FILED UNDER SEAL
                   Email Accounts: btcooney@gmail.com,
                    darcher@rosemontseneca.com and                                         AGENT AFFIDAVIT
                   ,smomtazi@rosemontseneca.com
                    Maintained at Premises Controlled by
                    Google; and darcher@rosemontcapital.com
                    and smomtazi@rosemontcapital.com
                    Maintained at Premises Controlled by
                    Apptix, USAO Reference No. 2015R01447


                                       Agent Affidavit in Support of Application for Search Warrants
                                                  for Stored Electronic Communications


                   STATE OF NEW YORK                 )
                                                     ) SS.
                   COUNTY OF NEW YORK )

                            SHANNON BIENIEK, Special Agent with the Federal Bureau of Investigation ("FBI"),

                   being duly sworn, deposes and states:

              I.       Introduction

                       A. Affiant

                                1. I have been a Special Agent with the FBI for approximately five years. I am currently

                   assigned to a squad that investigates white collar crimes, including securities fraud. I have received

                   training regarding computer technology and have participated in the execution of search warrants

                   involving electronic documents.

                       B. The Providers, the Subject Accounts, and the Subject Offenses

                                2. I make this affidavit in support of an application for search warrants pursuant to 18

                   U.S.C. § 2703 for all content, including emails and draft emails, created, sent or received between

                   January 1, 2014 and May 11, 2016, inclusive, and other information associated with the email




                   12.28.2016




                                                                                                                   USAO-SDNY_012217
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 3 of 45



accounts: btcooney gmail.com (the "COONEY ACCOUNT"), darcher@rosemontseneca.com (the

"ARCHER SENECA ACCOUNT") and smomtazi@rosemontseneca.com (the "MOMTAZI

SENECA ACCOUNT") maintained and controlled by Google, headquartered at 1600

Amphitheatre Parkway, Mountain View, CA 94043; and darcher@rosemontcapital.com (the

"ARCHER ACCOUNT") and smomtazi@rosemontcapital.com (the "MOMTAZI ACCOUNT"),

maintained and controlled by Apptix (together, the "Providers"), headquartered at 13461 Sumise

Valley Drive, Ste 300, Herndon, VA 20171 (together the "Subject Accounts"). The information to

be searched is described in the following paragraphs and in Attachment A to the proposed warrants.

         3. As detailed below, there is probable cause to believe that the Subject Accounts contain

evidence, fruits, and instrumentalities of violations of Title 18, United States Code, Section 1348,

and Title 15, United States Code, Sections 78j(b) and 78ff, Title 17, Code of Federal Regulations,

Sections 240.lOb-5; conspiracy to commit securities fraud, in violation of Title 18, United States

Code, Section 371; investment advisor fraud, in violation of Title 15, United States Code, Sections

80b-6 and 80b- l 7; and conspiracy to commit investment adviser fraud, in violation of Title 18,

United States Code, Section 371 (the "Subject Offenses"). This affidavit is based upon my

personal knowledge, my review of documents and other evidence, and my conversations with other

law enforcement officers, as well as my training and experience concerning the use of email in

criminal activity. Because this affidavit is being submitted for the limited purpose of establishing

probable cause, it does not include all the facts I have learned during my investigation. Where the

contents of documents and the actions, statements, and conversations of others are reported herein,

they are reported in substance and in part, except where otherwise indicated.

    C. Services and Records of the Providers

             4. I have learned the following about the Providers:



                                                     2
12.28.2016




                                                                                               USAO-SDNY_012218
                            Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 4 of 45



                                a. The Providers offer email services to the public. In particular, the Providers allow

                 subscribers to maintain email accounts which can be accessed from any computer connected to the

                 Internet.

                                b . The Providers maintain certain of the following records and information with

                 respect to subscriber accounts: 1

                                       L     Email contents. In general, any email (which can include attachments such

                 as documents, images, and videos) sent to or from a subscriber's account, or stored in draft form

                 in the account, is maintained on the Providers' servers unless and until the subscriber deletes the

                  email. If the subscriber does not delete the email, it can remain on the Providers' computers

                 indefinitely. Even if the subscriber deletes the email, it may continue to be available on the

                 Providers' servers for a certain period of time.

                                      IL     Google Docs, Sheets, and Slides. Google provides users with the ability to

                 write, edit, and collaborate on various documents with other Google users through a service

                  called "Google Docs," "Google Sheets," and "Google Slides." Users can use Google Docs,

                  Sheets, and Slides to create online documents that can be stored on or saved to the user's Google

                  Drive.

                                     111.    Google Drive content. Google provides users with a certain amount of

                  free "cloud" storage, currently 15 gigabytes, through a service called " Google Drive" (users can

                  purchase a storage plan through Google to store additional content). Users can use their Google

_ _ _ _ ___..~·...L"'-e-"t"o'--"s,....,
                                 to,,_,,r'""'
                                          ec...>e""'m
                                                    ~ il , attachments, videos, .Qhotogra hs, documents, and other content "in the


                  cloud," that is online. A user can access content stored on Google Drive by logging into his or

                  her Google account through any computer or other electronic device that is connected to the


                  1
                      Ce1iain of the listed records and information are only applicable to Google, as indicated.

                                                                            3
                  12.28 .2016




                                                                                                                                     USAO-SDNY_012219
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 5 of 45



Internet. Users can also share files stored on Google Drive with others, allowing them to view,

comment, and/or edit the files.

                iv.    Google Chats and Hangouts content. Google allows subscribers to

engage in "chat" sessions in an instant messaging format with other Google users, the transcripts

of which are generally stored in a user's email content. Similarly, Google allows users to engage

in enhanced chat sessions, called Hangouts, which permit the sharing of additional content such

as videos, sounds, and images. In general, Hangouts content is stored separately from a user's

email and chat content.

                 v.    Address book.    The Providers also allow subscribers to maintain the

equivalent of an address book, comprising email addresses and other contact information of other

email users.

                VI.    Subscriber and billing information. The Providers collect and maintain

(typically unverified) identifying information about each subscriber, including, for example, name,

username, address, telephone number, and other email addresses associated with the account.

Specifically, with regard to other email addresses associated with the account, Google maintains

records regarding (1) recovery and (2) alternate email accounts, which can be used to sign in to

the account and recover a password; (3) fetching and (4) forwarding addresses, which are email

accounts from which the primary account receives emails and forwards emails, respectively; (5)

domain aliases or (6) separate domains associated with the account, which are means by which



accounts that have access to the primary account, which access can be granted by the user of the

primary account; and (8) other email accounts that are associated with the primary account.

Google also maintains records concerning the date on which the account was created, the Internet



                                                4
12.28.2016




                                                                                              USAO-SDNY_012220
          Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 6 of 45



protocol ("IP") address of the user at the time of account creation, the current status of the account

(e.g., active or closed), the length of service, and the types of services utilized by the subscriber.

Additionally, for paying subscribers, Google maintains records of the subscriber's means and

source of payment, including any credit card or bank account number.

                VIL    Transactional information.      The Providers also typically retain certain

transactional information about the use of each account on its system. This information can include

records of login (i.e., session) times and durations and the methods used to connect to the account

(such as logging into the account through the Providers' website).

               vnL     Customer correspondence. The Providers also typically maintain records

of any customer service contacts with or about the subscriber, including any inquiries or

complaints concerning the subscriber's account.

                 IX.   Location data.       Google maintains recent location data, collected

periodically, from mobile devices that are logged into or have used applications (or "apps") or

services provided by Google. For example, Google collects information collected from GPS, Wi-

Fi networks, cell site locations, and mobile networks to estimate a user's location. Google apps

and services also allow for location reporting, which allows Google to periodically store and use

a device's most recent location data in connection with a Google account.

                  x.    Picasa Web Albums. Google provides users with a certain amount of free

storage, currently 1 gigabyte, through a service called "Picasa Web Albums" that allow for users

to store and share digital photographs. Google also retains the metadata-or data that provides

information about the data in question, such as the time and date of creation, the author or creator,

the means of its creation, the purpose of the data, among other data-for photos and videos that

are uploaded to Google, including to Picasa Web Albums. This metadata includes what is known



                                                  5
12.'28.2016




                                                                                                 USAO-SDNY_012221
          Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 7 of 45



as exchangeable image file format (or "Exif') data, and can include GPS location information for

where a photo or video was taken.

                 xi.   Android Services. Google also maintains information relating to Android,

as it relates to an account. Android is a mobile operating system that is developed by Google, and

is used on a variety of touchscreen mobile devices, such as smartphones and tablet computers.

Google retains information related to the Android device associated with an account, including the

IMEI (the International Mobile Station Equipment Identifier), MEID (the Mobile equipment

Identifier), device ID, and/or serial number of the devices. Each of those identifiers uniquely

identifies the device used. One device may be associated with multiple different Google and

Android accounts, and one Google or Android account may be associated with multiple devices .

                xu.    Web History. Google maintains searches and account browsing activity,

from Chrome, Google's proprietary web browser, as well as other Google applications.

               xni.    Google Alerts. Google provides a service that allows for email notifications

any time Google finds new results on a topic of interest to a particular user. Users can create an

alert by entering keywords for which they would like to receive email notifications. Once an alert

is set up, Google will send emails to the designated email account every time Google finds new

search results for the keywords entered by the user.

                xiv.   Google Webmaster Tools and Google Search Console. Google provides a

service (previously called Webmaster Tools but renamed Google Search Console as of May 20,

2015) that allows users to monitor and maintain their site's presence in Google   ~earch   results. The

tool allows a user to ensure that Google can access the content of a website; submit new content

for purposes of crawling (i.e., to ensure that Google captures data from the website for purposes

of its search engine) and remove content that the user does not want shown in each result; create



                                                 6
12. 28.2016




                                                                                                 USAO-SDNY_012222
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 8 of 45



and monitor content; see what queries caused a site to appear in search results, and the amount of

traffic generated by such searches, and what websites are linked to that site; and other activity.

                xv.    Google Analytics. Google Analytics is a subscription service offered by

Google, which caters to online businesses. A business subscribed to Google Analytics can use the

serve to monitor traffic to and within the business's website.           Google Analytics collects

information about a website's users by installing a "cookie"- or a small piece of data- on the

computer of each user of the business's website, which then collects information about the user's

interactions with the website by, for example, tracking what pages of the business ' s website the

user visits. Among the user data collected by Google Analytics is "referral traffic," which lets the

business see what websites are referring traffic to the business's website-that is, the websites that

users are visiting immediately before visiting the subscriber's website. Such data can help the

subscriber to understand the sources of its online business. Google Analytics provides a platform

through which subscriber can run various queries and generate various reports based on the website

traffic data collected through the service. Google Analytics retains records of the queries run and

reports generated by the subscriber.

               xvi.    Google Payments. Google allows for the storage of payment information

associated with a Google Account, including credit cards and bank accounts, and contains

information about all transactions made with a Google account, allowing for the payment for goods

(such as those purchased through Google Shopping) and bills, among other features.

               xvn.    Google Apps and Google Apps Administrator Control Panel. Google Apps

is a package of cloud-based services that allow for an organization to communicate in ways beyond

emailing and chatting-such as through video conferences, social media, real-time document

collaboration, and other things. A user can sign up for Google Apps by providing a domain name



                                                  7
12.28.2016




                                                                                                USAO-SDNY_012223
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 9 of 45



that s/he wishes to use with Google services. Google then allows for a group of people to use

Gmail, Calendar, Drive, and other services together. The Google Apps Administrator Panel allows

a designated user to serve as the administrator of an organization's Google Apps account, allowing

the administrator to control access to mail, data, and security for others in the organization. Google

Apps Administrator Control Panel lets an administrator monitor how individual services are being

used, as well as managing individual domains.

                  xviii.   Google URL Shortener. Google provides a service that allows a user to

shorten URLs to make them easier to share, and tracks the clicks that a shortened URL receives.

                    xix.   Preserved and backup records.      The Providers also maintain preserved

copies of the foregoing categories ofrecords with respect to an account, for at least 90 days, upon

receiving a preservation request from the Government pursuant to 18 U.S.C. § 2703(£). The

Providers may also maintain backup copies of the foregoing categories of records pursuant to its

own data retention policy.

    D. Jurisdiction and Authority to Issue Warrant

         5. Pursuant to 18 U.S.C. §§ 2703(a), (b)(l)(A) & (c)(l)(A), the Government may require

a provider of an electronic communications service or a remote computing service, such as the

Providers, to disclose all stored content and all non-content records or other information pertaining

to a subscriber, by obtaining a warrant issued using the procedures described in the Federal Rules

of Criminal Procedure.

             6. A search warrant under§ 2703 may be issued by "any district court of the United States

(including a magistrate judge of such a court)" that "has jurisdiction over the offense being

investigated." 18 U.S.C. § 2711(3)(A)(i).

             7. When the Government obtains records under§ 2703 pursuant to a search wanant, the

Government is not required to notify the subscriber of the existence of the warrant. 18 U.S.C.

                                                     8
12.28.2016




                                                                                                 USAO-SDNY_012224
               Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 10 of 45



      § 2703(a), (b)(l)(A), (c)(2) & (3). Additionally, the Government may obtain an order precluding

      the Provider from notifying the subscriber or any other person of the warrant, for such period as

      the Court deems appropriate, where there is reason to believe that such notification will seriously

  jeopardize an investigation. 18 U.S.C. § 2705(b).

II.       Probable Cause

           A. Probable Cause Regarding the Subject Offenses

                8. As part of my investigation in this case, I have reviewed, among other things, business

      records, bank records, telephone records, public records, email correspondence, court filings, and

      spoken to SEC staff attorneys about their review of such records. Based on my review of those

      documents and materials, and my participation in those conversations and interviews, I have

      concluded that there is probable cause to believe that Devon Archer and Bevan Cooney have

      engaged in the Subject Offenses. This affidavit does not contain all of the information that I have

      learned in connection with this investigation, but is limited to only those facts necessary to support

      probable cause to search the Subject Accounts .

                                          The Investigation and Prosecution

                    9. Since at least 2015, the FBI and the United States Postal Inspection Service ("USPIS")

      have been investigating individuals involved in a fraudulent scheme to (i) to misappropriate the

      proceeds of bonds (the "Tribal Bonds") issued by the Wakpamni Lake Community Corporation

      (the "WLCC"), a subordinate unit of the Oglala Sioux Native American Tribe; and (ii) to use funds

      in the accounts of clients of captive asset management firms to purchase the Tribal Bonds, which

      the clients were then unable to redeem or sell because of the illiquidity of the Tribal Bonds and the

      lack of a ready secondary market for the same.

                    10. On or about November 2, 2016, a Grand Jury sitting in the Southern District of New

      York returned a Superseding Indictment, S 1 16 Cr. 371 (RA) (the "Indictment"), charging Jason

                                                            9
      12.28 .2016




                                                                                                       USAO-SDNY_012225
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 11 of 45



Galanis, Gary Hirst ("Hirst"), John Galanis ("Galanis"), Hugh Dunkerley ("Dunkerley"), Michelle

Morton ("Morton"), Devon Archer ("Archer") and Bevan Cooney ("Cooney") (together "the

Defendants") with conspiracy to commit securities fraud (Count One) and securities fraud (Count

Two). Jason Galanis, Hirst, and Morton were also charged with conspiracy to commit investment

advisor fraud (Count Three) and investment advisor fraud (Count Four). The Defendants had all

previously been anested on May 11, 2016 pursuant to a criminal complaint.

              11. The Indictment is attached hereto as Exhibit A, and the facts contained therein are

incorporated by reference herein. Nonetheless, the following provides a summary of the charged

fraudulent scheme, based on my knowledge and participation in this investigation:

                 a. Beginning in or about March 2014, John Galanis and Jason Galanis pitched the

                     concept of special limited taxable revenue bonds (the "Tribal Bonds") to employees

                     and advisors to the WLCC. The WLCC ultimately agreed to a series of four bond

                     issuances, totaling approximately $60 million. (Ex. A if 6).

                 b. According to trust indentures and other documents underlying the bond issuances,

                     the WLCC understood that the proceeds of the bond issuances were going to be

                     provided to an annuity provider to be invested for the benefit of the WLCC, which

                     would generate enough income to pay interest to the bondholders and an annual

                     sum to the WLCC for use in development projects. (Ex. A if 7). Instead, significant

                     portions of the bond proceeds were   misappr~priated   and diverted for the personal

                     benefit and use of the Defendants. (Ex. A if 17).

                 c. In order for the scheme to succeed, Jason Galanis and his co-conspirators needed

                     to generate buyers for the Tribal Bonds, which was particularly challenging given

                     that there was no ready secondary market. To that end, _Jason Galanis gained



                                                     10
12.28 .2016




                                                                                                    USAO-SDNY_012226
        Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 12 of 45



                control of two related investment advisers, Hughes Capital Management, Inc.

                ("Hughes") and Atlantic Asset Management, LLC ("Atlantic") (together "the

                Investment Advisers"), with financing provided, at least in part, by an entity

                controlled by Jason Galanis, Archer, Cooney and Dunkerley.

             d. Morton and Hirst, acting at the direction of Jason Galanis, used funds belonging to

                clients of the Investment Advisers to purchase the Tribal Bonds, even though Jason

                Galanis, Hirst and Morton were well aware that material facts about the Tribal

                Bonds had been withheld from clients in whose accounts they were placed,

                including the fact that the Tribal Bond purchases fell outside of the investment

                parameters set forth in the investment advisory contracts of certain of those clients.

                When the Investment Adviser clients learned about the purchase of the Tribal

                Bonds in their accounts, several of them demanded that the Tribal Bonds be sold.

                However, because there was no ready secondary market, the Tribal Bonds could

                not be sold.

             e. In addition, a portion of the misappropriated proceeds were recycled and provided

                by Jason Galanis to entities affiliated with Archer and Cooney in order to enable

                Archer and Cooney to purchase subsequent Tribal Bonds issued by the WLCC. As

                a result of the use of recycled proceeds to purchase additional issuances of Tribal

                Bonds, the face amount of Tribal Bonds outstanding increased and the amount of

                interest payable by the WLCC increased, but the actual bond proceeds available for

                investment on behalf of the WLCC did not increase.




                                                  11
12.28.2016




                                                                                                USAO-SDNY_012227
          Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 13 of 45



     B. Probable Cause Regarding the Subject Accounts

           12. Based on my participation in this investigation, I believe there is probable cause to

search the Subject Accounts for all content, including emails and drafts, and other information

associated with the Subject Accounts from January 1, 201.4 to May 11, 2016.

           13 . In particular, as part of this investigation, I have reviewed email correspondence

involving Jason Galanis, Cooney at the COONEY ACCOUNT, Archer at the ARCHER

ACCOUNT and/or the ARCHER SENECA ACCOUNT and Momtazi, 2 at the MOMTAZI

ACCOUNT and/or the MOMTAZI SENECA ACCOUNT concerning, inter alia, the initiation of

the scheme to orchestrate the issuance of the Tribal Bonds; the placement of the Tribal Bonds with

clients of the captive Investment Advisors; and the use of Tribal Bond proceeds. Some examples

of such emails are described herein, in substance and in part. For example:

           14. Soon after John Galanis first pitched the concept of the Tribal Bonds to the WLCC,

Jason Galanis engaged in email correspondence with Archer at the ARCHER ACCOUNT and

Cooney at the COONEY ACCOUNT to apprise them of the progress of the bond issuance. These

emails further demonstrate that Jason Galanis and his co-conspirators intended to fraudulently

control and use the proceeds of the bond issuances for their own purposes. Specifically:

               a. On or about April 4, 2014, Jason Galanis sent fill email to the ARCHER ACCOUNT

                  and the COONEY ACCOUNT with subject line "Oglala Native Spirits

                  Memo .docx." The body of the email stated, "$20mm bond approved .. Proceeds are




2
    At times relevant to the events described in the Indictment, Sebastian Momtazi served as Chief
  Operating Officer of Rosemont Capital, LLC and Rosemont Seneca Partners. Archer is a co-
  founder of Rosemont Capital LLC, an investment platform that manages private equity, fixed
  income and real estate investments, and Rosemont Seneca Paiiners, a private equity firm
· specializing in technology companies.

                                                   12
 12.28.20 16




                                                                                               USAO-SDNY_012228
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 14 of 45



                 $15mm to us and 5mm to them for a winery investment they want to make."

                 (emphasis added).

              b. On or about July 5, 2014, Jason Galanis sent an email to the ARCHER ACCOUNT

                 and the COONEY ACCOUNT in which Jason Galanis apprised Cooney and Archer

                 that, in sum and substance and in part, counsel for the WLCC had "met and

                 approved the [bond issuance]." Jason Galanis further stated, "[S]hooting for end

                 of month. lots to accomplish to finesse this over the line. im [sic] not counting the

                 money yet, but I'm encouraged by the quality fo [sic] the work and the

                 professionalism from everyone im [sic] coordinating." Jason Galanis further wrote,

                 "[M]y primary objective is to get us a source of discretionary liquidity. sick of

                 begging." (emphasis added).

              c. On or about August 15, 2014, Jason Galanis sent an email to the ARCHER

                 ACCOUNT and the COONEY ACCOUNT indicating that representatives of the

                 WLCC had executed the legal documentation necessary for the first Tribal Bond

                 issuance to occur . . Cooney responded from the COONEY ACCOUNT, "This is

                 pure genius alla [sic] mikey Milken!! The Native American Bonds! !. .. Great work

                 here Greek!!"    Based on my review of documents, I know that "Greek" is a

                 nickname sometimes used by Jason Galanis, Archer and Cooney to refer to Jason

                 Galanis.   Also, based on my training and experience, and involvement in this

                 investigation, I believe the statement "alla mikey Milken" refers to Michael Milken,

                 who is a former financier notorious for his involvement in the development of the

                 "junk bond" market and his conviction on securities fraud charges.




                                                  13
12.28 .2016




                                                                                                USAO-SDNY_012229
        Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 15 of 45




         15. in fmiherance of the scheme, as described above, Jason Galanis obtained control over

the Investment Advisers in order to use client funds for his own purposes, such as the purchase of

the Tribal Bonds.    Jason Galanis did so by arranging for an entity he, Archer, Cooney and

Dunkerley, among others, controlled, to provide financing for Morton to purchase the investment

advisors. Jason Galanis kept Archer and Cooney apprised, via email communication, of his efforts

to gain control of an investment advisor for purposes of selling the Tribal Bonds. For example:

             a. On or about May 9, 2014, Jason Galanis sent an email to the ARCHER ACCOUNT

                and the COONEY ACCOUNT, among others.              The subject of the email was

                "Hughes Asset Management." In the email, Jason Galanis wrote that a particular

                individual had "brought us an RIA [registered investment adviser] to acquire.

                possibly useful." Later in the email, Jason Galanis wrote, "can buy for 1. 7x fee

                ($3 .4 million) with 70% down.     The deal referral comes from two competent

                sounding marketing people (resumes attached)." The email attached biographical

                information regarding Morton and her business partner.

             b. On or about July 16, 2014, Jason Galanis sent an email to the ARCHER

                ACCOUNT and the COONEY ACCOUNT. In the email, Jason Galanis said,

                "greek is forging ahead for us. see attached executed term sheet for the acquisition

                of 100% of Hughes Capital management.          Firm manages $900 million on a

                discretionary basis for 28 institutional clients (pensions and endowments)." Later

                in the email, Jason Galanis said, "We have agreed to give the firm an opportunity

                to participate in native american bond new issues. I believe they will take $28

                million of the W akpamni/Ogala [sic] Sioux issue that Greenberg Traurig is working

                on." Archer responded via the ARCHER ACCOUNT, "This is very encouraging!"



                                                 14
12.28.2016




                                                                                              USAO-SDNY_012230
        Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 16 of 45



                   Cooney responded via the COONEY ACCOUNT, "West Coast offense charging

                   down the field!"

         16. Also as described above, a portion of the misappropriated proceeds from the first tribal

bond issuance were recycled and provided by Jason Galanis to entities affiliated with Archer and

Cooney in order to enable Archer and Cooney to purchase subsequent Tribal Bonds issued by the

WLCC. Specifically, in or about September 2014, Jason Galanis transferred approximately $15

million from the proceeds of the first Tribal Bond issuance via an intermediary to an entity

controlled by Archer, who then used the funds to purchase a subsequent Tribal Bond issuance.

(Ex.   A~     21(a)). In October 2014, in connection with Archer's attempt to deposit the bonds into a

brokerage firm account under his control, Archer falsely represented that the funds he had used to

purchase the bonds came from real estate sales. (Ex.       A.~   2l(a)).

             17. On several occasions between September 29, 2014 and October 24, 2014, Archer and

Archer's assistant, Sebastian Momtazi ("Momtazi"), engaged in email correspondence with

representatives of a brokerage firm regarding the purchase of the Tribal Bonds using the ARCHER

ACCOUNT and the MOMTAZI ACCOUNT. For example:

                a. On or about September 29, 2014, the MOMTAZI ACCOUNT emailed a

                    representative of the brokerage firm, cc'ing the ARCHER ACCOUNT, stating, in

                    sum and substance and in part, that "we would like to make the following bond

                    purchase ... A purchase in the        amount of $15,000,000.00     of: ISSUER:

                    WAKP AMNI LAKE COMNT CORP S D SPL LTD REV".

                b. On or about October 1, 2014, the MOMTAZI ACCOUNT emailed a representative

                    of the brokerage firm, cc'ing the ARCHER ACCOUNT, providing wire

                    instructions for the purchase of the Tribal Bonds.



                                                     15
12.28.2016




                                                                                                USAO-SDNY_012231
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 17 of 45



                 c. On or about October 24, 2014, the MOMTAZI ACCOUNT emailed a

                    representative of the brokerage firm, cc' ing the ARCHER ACCOUNT, attaching a

                    client representation letter stating, in sum and substance and in part, "The funds

                    used to purchase the bonds were from real estate sales through my business ... "

          18. Also in furtherance of the scheme, by letter dated October 1, 2014, Archer provided

false and misleading information to the Independent Trustees of an asset manager affiliated with

the placement agent for the Tribal Bonds, which had sought assurances from Archer that Jason

Galanis would not be involved with either the placement agent or related entities. On or about

September 26, 2014, Momtazi sent a copy of the letter from the MOMTAZI SENECA ACCOUNT

to an employee of the placement agent, cc'ing the ARCHER SENECA ACCOUNT.

              19. I also know, based on my review of bank records and documents provided by various

entities, that a portion of the proceeds of the last Tribal Bond issuance, which were supposed to be

invested on the WLCC's behalf in accordance with the documentation underlying the issuance,

were instead used to purchase a significant percentage of the shares of the initial public offering

of a technology company in which Jason Galanis, Hirst, Archer, Cooney and Dunkerley all held

shares. Proceeds generated by a later sale of these shares were used, in pmi, to fund the interest

payment on the first Tribal Bond Issuance when it became due. Jason Galanis communicated with

Archer and Cooney by email regarding his plans for the initial public offering. Specifically:

                 a. On or about February 25, 2014, Jason Galanis, the defendant, emailed the

                    ARCHER ACCOUNT and the COONEY ACCOUNT attaching a draft Form S-1

                    registration statement for Technology Company-1 's initial public stock offering.

                    In the email, Jason Galanis stated, in substance and in part, "arch we put the

                     attached together in about a week. Lots of work, but just a week. . . . will use



                                                     16
12.28.201 6




                                                                                                  USAO-SDNY_012232
         Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 18 of 45



                      Burnham west coast for the IPO. will be in NASDAQ by summer. should be doing

                      more of these using the machinery. jason."

           20. I also know that that during the relevant time period, Archer and Cooney resided, at

least in part, in different locations throughout the United States from Jason Galanis and the other

co-conspirators in the charged scheme, and therefore were likely to frequently communicate with

each other via electronic, rather than in-person, communications.

     C. Evidence, Fruits and Instrumentalities

           21 . Based upon the foregoing, I respectfully submit there is probable cause to believe that

information stored on the Providers ' servers associated with the Subject Accounts will contain

evidence, fruits , and instrumentalities of the Subject Offenses, as more fully described in Section

II of Attachment A to the proposed warrant.

           22 . In particular, I believe the Subject Accounts are likely to contain the following

information:

               •   evidence of the agreement to engage in a fraudulent scheme involving the issuance of

                   bonds on behalf of the Wakpamni Lake Community Corporation ("WLCC") and the

                   misappropriation of the proceeds of those bonds, from January 1, 2014 to May 11,

                   2016;

               •   evidence of communications and/or meetings involving or related to the bonds issued

                   on behalf of the WLCC, including but not limited to:

                      o    all emails with or pertaining to Jason Galanis, John Galanis, Gary Hirst, Hugh

                           Dunkerley, Michelle Morton, Devon Archer, and Bevan Cooney;

                      o    all emails with or pertaining to entities involved in the issuance, placement,

                           purchase or sale of the bonds;



                                                        17
12.28 .20 16




                                                                                                   USAO-SDNY_012233
               Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 19 of 45




                           o   all emails with or pertaining to entities involved in the receipt and/or use of the

                               bond proceeds;

                •       evidence of crime (e.g., agreement to engage in unlawful conduct, references to or

                        discussion of unlawful conduct), communications constituting crime (e.g., emails

                        containing fraudulent representations); and identities and locations of co-conspirators

                        or victims (communications with co-conspirators or victims, photos or other

                        attachments, address book information).

                •       e-mail communications with co-conspirators;

                •       e-mails that can be helpful to establish user identity;

                •       email header information which can assist in placing the targets or confederates at a

                        certain time and place;

                •       geographic location of user, computer, or device (e.g., the content and header

                        information can both indicate that the email was communicated through a particular

                        physical location; metadata from photo attachments can reflect geographic location);

                •       identities and locations of co-conspirators or victims (communications with co-

                        conspirators, photos or other attachments, address book information);

                    •   location of other evidence (e.g., emails reflecting registration of other online accounts

                        potentially containing relevant evidence);

                    •   passwords or other information needed to access the user's computer or other online

                        accounts.

III.       Review of the Information Obtained Pursuant to the Warrant

                    23. Pursuant to 18 U.S .C. § 2703(g), the presence of a law enforcement officer is not

       required for service of a search warrant issued under § 2703, or for the collection or production of



                                                              18
       12.28.2016




                                                                                                             USAO-SDNY_012234
        Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 20 of 45




responsive records. Accordingly, the warrant requested herein will be transmitted to the Provider,

which shall be directed to produce a digital copy of any responsive records to law enforcement

personnel within 30 days from the date of service. Law enforcement personnel (including, in

addition to law enforcement officers and agents, and depending on the nature of the ESI and the

status of the investigation and related proceedings, attorneys for the government, attorney support

staff, agency personnel assisting the government in this investigation, and outside technical experts

under government control) will retain the records and review them for evidence, fruits, and

instrumentalities of the Subject Offenses as specified in Section III of Attachment A to the

proposed warrant.

         24. In conducting this review, law enforcement personnel may use various methods to

locate evidence, fruits, and instrumentalities of the Subject Offenses, including but not limited to

undertaking a cursory inspection of all emails within the Subject Accounts. This method is

analogous to cursorily inspecting all the files in a file cabinet in an office to determine which paper

evidence is subject to seizure. Although law enforcement personnel may use other methods as

well, particularly including keyword searches, I know that keyword searches and similar methods

are typically inadequate to detect all information subject to seizure. As an initial matter, keyword

searches work only for text data, yet many types of files commonly associated with emails,

including attachments such as scanned documents, pictures, and videos, do not store data as

searchable text. Moreover, even as to text data, keyword searches cannot be relied upon to capture

all relevant communications in an account, as it is impossible to know in advance all of the unique

words or phrases that investigative subjects will use in their communications, and consequently

there are often many communications in an account that are relevant to an investigation but that

do not contain any keywords that an agent is likely to search for.



                                                  19
12.28.2016




                                                                                                 USAO-SDNY_012235
                              Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 21 of 45




      IV.             Conclusion

                                          25 . Based on the foregoing, I respectfully request that the Court issue the warrants sought

             herein pursuant to the applicable provisions of the Stored Communications Act, 18 U.S.C.

                 § 2703(b)(l)(A) (for contents) and § 2703(c)(l)(A) (for records and other information), and the

             relevant provisions of Federal Rule of Criminal Procedure 41.




                                                                                            Sp~h~l iek
                                                                                            Federal Bureau of Investigation

                                      I        11,   I   \

        · Sworn ,t o qefore me
        '         '   )     \II
                               this                  I   I


      . :" / .' ' ~ day ofBe~ember, 2016
         . . ~ 1.\J'0, S/tlarbar~ ·Moses
  .;'''
\) ....
        .)i 1; 1J
               , \ '\ \
                          '
                        ..,
                                           '                 I

             \                    '            ~     '

            ,B:OJ-~OAABL~ BARBARA MOSES
                 Uriit~d St.ates,Magistrate Judge
                 Southem' ID':i. ~tfi<;:t ·of New York




                                                                                   20
                 12.28.2016




                                                                                                                                USAO-SDNY_012236
Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 22 of 45




                     EXHIBIT A




                                                                    USAO-SDNY_012237
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 23 of 45




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                       x

UNITED STATES OF AMERICA

            - v. -

JASON GALANIS,                                   SUPERSEDING
GARY HIRST,                                      INDICTMENT
JOHN GALANIS,                                    Sl 16 Cr. 371 (RA)
   a/k/a "Yanni,"
HUGH DUNKERLEY,
MICHELLE MORTON,
DEVON ARCHER, and
BEVAN COONEY,

            Defendants~


------------------                     x

                               COUNT ONE
                (Conspiracy to Commit Securities Fraud)

     The Grand Jury Charges:

                     Relevant Persons and Entities

     1.     At all times relevant to this Indictment, the Wakpamni

Lake Community Corporation (the "WLCC") was a tribally-chartered

economic development corporation, wholly-owned by the Wakpamni

Lake Community, a subdivision of the Wakpamni Lake District,

which are each subordinate units of the Oglala Sioux Tribe of

the Pine Ridge Reservation, South Dakota.

     2 ..   At certain times relevant to this Indictment, Hughes

Capital Management, Inc.    ("Hughes") was an investment adviser

registered with the U.S. Securities and Exchange Commission

("SEC") with its principal place of business in Alexandria,

                                   1




                                                                       USAO-SDNY_012238
    Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 24 of 45




Virginia.    On August 4, 2014, a limited liability corporation of

which MICHELLE MORTON, the defendant, was a fifty percent owner

(the "Morton Corporation") acquired Hughes.     Following the

acquisition, MORTON became the Chief Executive Officer of

Hughes.     At certain times relevant to the Indictment, GARY

HIRST, the defendant, was the Chief Investment Officer of

Hughes.

     3.       At all times relevant to this Indictment, Atlantic

Ass e t Management, LLC ("Atlantic" and together with Hughes, the

"Investment Advisers") was an investment adviser registered with

the SEC with its principal place of business in Stamford,

Connecticut.     In or about April 2015, the Morton Corporation

purchased Atlantic and Hughes was merged into Atlantic.

Following the acquisition of Atlantic, MICHELLE MORTON, the

defendant, became the Chief Executive Officer of Atlantic.

MORTON and GARY HIRST, the defendant, were legally obligated to

the clients of the Investment Advisers to act in their best

interests.

                      Overview of the Conspiracy

     4.      From at .least in or about March 2014 through in or

about April 2016, JASON GALANIS, GARY HIRST, JOHN GALANIS, a/k/a

"Yanni," HUGH DUNKERLEY, MICHELLE MORTON, DEVON ARCHER, and

BEVAN COONEY, the defendants, and others known and unknown,

conspired to . defraud the WLCC by (i) causing the WLCC to issue


                                   2




                                                                        USAO-SDNY_012239
    Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 25 of 45




more than $60 million in bonds based on false and misleading

representationsi    (ii) failing to invest the bond proceeds on the

WLCC's behalf in the manner agreed uponi and (iii) instead

misappropriating the proceeds of the bonds for their own

purposes .                                                                          I
                                                                                    ;

     5.      From at least in or about May 2014 through in or about

April 2016, JASON GALANIS , GARY HIRST, and MICHELLE MORTON, the

defendants, and others known and unknown, conspired to defraud

certain of the clients of the Investment Advisers by gaining

ownership and control of the Ihvestment Advisers and causing

client funds to be invested in the WLCC's bonds, without

disclosing material facts to these clients, including that the

bonds did not fit within the investment parameters of certain

clients' investment advisory contracts and that certain

substantial conflicts of interest existed.

  JASON AND JOHN GALANIS INDUCE THE WLCC TO ISSQE MORE THAN $60
  MILLION OF BONDS THROUGH FALSE AND MISLEADING REPRESENTATIONS

      6.     As a part of the scheme to defraud, JASON GALANIS and

JOHN GALANIS, a/k/a "Yanni," the defendants, induced the WLCC,

through false and misleading representations and omissions, to

issue a total of approximately $60 million of bonds, over the

course of four bond issuances (respectively, the "First Bond

Issuance," the "Second Bond Issuance," the "Third Bond

Issuance," and the "Fourth Bond Issuance" and, together, the



                                   3




                                                                        USAO-SDNY_012240
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 26 of 45




"Bond Issuances") .   In furtherance of the scheme, . JASON GALANIS

apprised DEVON ARCHER and BEVAN COONEY, the defendants, of the

status of the Bond Issuances and the likely proceeds to be

obtained therefrom, and further discussed with them potential

uses that could be made of the proceeds that were for the

benefit of JASON GALANIS, ARCHER, COONEY and their co-

conspirators.

     7.   According to the trust indentures and other documents

relating to the Bond Issuances (collectively, the "Bond

Agreements") entered into by the WLCC, proceeds of t):le Bond

Issuances were to be provided to an annuity provider (the

"Annuity Provider") established in the British Virgin Islands by

HUGH DUNKERLEY, the defendant, to be invested in an annuity for

the benefit of the WLCC which would generate sufficient income

to pay interest and eventually the principal to bond holders.

On or about August 6, 2014, GARY HIRST, the defendant, opened a

bank account in Florida in the name of the Annuity Provider and

provided himself and DUNKERLEY with signatory authority on the

account (the "Dunkerley Account").

     B.   According to the Bond Agreements, a separate

investment manager (the "Investment Manager") was to receive the

bond proceeds from the Annuity Provider so that they could be

invested on the WLCC's behalf.




                                  4




                                                                       USAO-SDNY_012241
      Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 27 of 45




       9.    In connection with each of the Bond Issuances, the

WLCC also entered into a placement agency agreement with a

broker-dealer (the "Placement Agent") at which HUGH DUNKERLEY,

the defendant, was employed, and in which DEVON ARCHER and BEVAN                      'i'a.

COONEY, the defendants, had an ownership interest.        Pursuant to

the placement agency agreements - which in most cases were

signed by DUNKERLEY - the Placement Agent would solicit investors

for the WLCC bonds in exchange for a fee.       None of the eventual

purchasers of the WLCC bonds, however, were solicited by the

Placement Agent.

       10.   At various times in furtherance of the scheme, JOHN

GALANIS, a/k/a "Yanni , " the defendant, falsely represented to

the WLCC that JASON GALANIS, the defendant, was affiliated with

the Placement Agent in order to create the false impression that

JASON GALANIS'S role in the transaction was legitimate or

authorized.     In addition, the placement agency agreements signed

by HUGH DUNKERLEY, the defendant, stated that any notice that

wa~   to be provided to the .Placement Agent should be sent to the

attention of JASON GALANIS, thus ensuring that the conspirators

were apprised of any developments concerning the Bond Issuances .

Notwithstanding these representations, DEVON ARCHER, the

defendant, who was affiliated with the Placement Agent, falsely

represented to affiliates of the Placement Agent that, among

other things, JASON GALANIS would not be involved with any

                                    5




                                                                          USAO-SDNY_012242
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 28 of 45




entities affiliated with the Placement Agent or source deals to

the Placement Agent, despite ARCHER'S knowledge of JASON

GALANIS's role in procuring the Bond Issuances.

     11.   JASON GALANIS, the defendant, apprised DEVON ARCHER

and BEVAN COONEY I the defendants I   among others_, about the

progre.ss of the Bond Issuances via email, among other means.

For example:

           a.    On or about April _4, 2014, JASON GALANIS emailed

ARCHER and COONEY, stating,   "$20mm bond approved. Proceeds are

$15mm to us and 5 mm to them."

           b.   On or about July 6, 2014, JASON GALANIS emailed

ARCHER and COONEY , noting that the WLCC had approved     ~he    first

bond issuance· and stating, . "[M]y primary objective is to get us

a source of discretionary l iquidity. Sick of begging."

           c.   On or about August 15, 2014, JASON GALANIS

emailed ARCHER and COONEY , stating that the legal documents for

the First Bond Issuance had been executed.      COONEY replied,

"This is pure genius alla [sic] mikey Milken! ! The Native

American Bonds!!!       . Great work here Greek! ! "

                    CONTROL OF ATLANTIC AND HUGHES

     12.    In furtherance of the scheme to defraud, JASON

GALANIS,   the defendant, obtained control of the Investment

Adv is e rs, in order to us e client funds for his own purposes .

JASON GALANIS did so by arranging for an entity he, DEVON


                                  6




                                                                         USAO-SDNY_012243
    Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 29 of 45




ARCHER, HUGH DUNKERLEY, and BEVAN COONEY, the defendants, among

others, controlled to provide financing for MICHELLE MORTON, the

defendant, to purchase the Investment Advisers.     ARCHER and

COONEY were well aware of JASON GALANIS's efforts to locate and

gain control of the Investment Advisers, and that client funds

were to be used for the purchase of the Bond Issuances.      To

further facilitate the fraudulent scheme, MORTON installed GARY

HIRST, the defendant, with JASON GALANIS's knowledge and

. approval, as the Chief Investment Officer and later as the

Chairman of the Investment Committee of Hughes.

     13.   Having obtained control of the Investment Advisers,

JASON GALANIS, MICHELLE MORTON, and GARY HIRST, the defendants,

purchased a total of approximately $43.2 million of the Bond

Issuances with client funds.    In particular:

           a.   In or about August 2014, MORTON and HIRST, . at the

direction of JASON GALANIS, directed the use of Hughes client

funds to purchase approximately $27 million of bonds,

representing the entirety of the First Bond Issuance.

           b.   In or about April 2016, MORTON, at the direction

of JASON GALANIS, directed the use of Atlantic client funds to

purchase $16.2 million of bonds, representing the entirety of

the Fourth Bond Issuance.

     14.   MICHELLE MORTON and GARY HIRST, the defendants, failed

to disclose the contemplated bond purchases to, or to consult

                                  7




                                                                        USAO-SDNY_012244
    Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 30 of 45




with, any Hughes clients, and MORTON likewise failed to make any

disclosures to any Atlantic client, prior to causing the

clients' purchases of the bonds, notwithstanding that the bond

purchases were outside the investment parameters of many of the

clients.

     15.   MICHELLE MORTON and GARY HIRST, the defendants, also

failed to disclose to the Investment Advisers' clients the

numerous conflicts of interest that existed with regard to the

Investment Advisers' role in the purchase of the bonds, despite

their legal obligations to make such disclosures.       For example:

           a.   HUGH DUNKERLEY, the defendant, was (i) a Managing

Director at the Placement Agent;       (ii) a managing member of an

entity that invested in both Investment Advisers;       (iii) an

officer of the Annuity Provider; and (iv) a signatory on the

Dunkerley Account.   DUNKERLEY was thus affiliated with the

entity purportedly soliciting investors for the WLCC bonds; the

entities whose clients actually    purcha~ed   the bonds; and the

entity receiving the proceeds of the bond issuances and

purportedly investing those.proceeds on the WLCC 1 s behalf.

           b.   HIRST was (i) the Chief Investment      Offic~r,   and

later the Chairman of the Investment Committee 1 of Hughes and

signed the trade tickets authorizing the purchase of the First

Tribal Bond Issuance on behalf of Hughes clients;       (ii) the

Assistant Secretary of the Annuity Provider; and (iii) a

                                   8




                                                                         USAO-SDNY_012245
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 31 of 45




signatory on the Dunkerley Account.    HIRST was thus affiliated

both with the entities whose clients purchased the bonds and the

entity receiving the proceeds of the bond issuances and

purportedly investing those proceeds on the WLCC's behalf.

            c.   JASON GALANIS, the defendant,   (i) held himself

out as affiliated with the Placement Agent and was the notice

party for certain of the agreements between the Placement Agent

and the WLCC;    (ii) orchestrated the purchase of Hughes and

Atlantic;   (iii) directed the purchase of the Bond Issuances

using Atlantic and Hughes client funds; and (iv) exercised

control over the Annuity Provider.     JASON GALANIS was thus

affiliated with the entity .purportedly soliciting investors for

the WLCC bonds; the entities whose clients actually purchased

the bonds; and the entity receiving the proceeds of the bond

issuances and purportedly investing those proceeds on the WLCC's

behalf.

     16.    When clients of the Investment Advisers learned that

certain of the Bond Issuances had been purchased in their

accounts, several demanded that the bonds be liquidated.

However, because there was no ready secondary market for the

bonds, none were ever able to be sold or redeemed from the

client accounts.




                                   9




                                                                       USAO-SDNY_012246
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 32 of 45




                MISSAPROPRIATION OF THE BOND PROCEEDS

     17.    As a further part of the scheme to defraud, JASON

GALANIS, the defendant, aided by HUGH DUNKERLEY, the defendant,

misappropriated the bond proceeds for his own    b~nefit   and for

the benefit of various co-defendants.     In particular, the

entirety of the bond proceeds were deposited into the Dunkerley

Account.    At no time were the funds deposited in the · Dunkerley

Account transferred to the Investment Manager as specified in

the Bond Agreements.    Instead, at JASON GALANIS's direction,

DUNKERLEY transferred more than $43 million of bond proceeds

from the Dunkerley Account to accounts controlled by both JASON

GALANIS    (the "Jason Galanis Account") and JOHN GALANIS, a/k/a

"Yanni," the defendant.    JASON GALANIS then transferred those

proceeds, often through layers of intermediaries,     (i) to

accounts controlled by GARY HIRST, DEVON ARCHER, JOHN GALANIS,

and BEVAN COONEY, the defendants, among others;     (ii) to other

business interests of JASON GALANIS and his co-defendants; and

(iii) for use in connection with his own personal expenses .

     18.    For example, HUGH DUNKERLEY, the defendant, acting at

the direction of JASON GALANIS, the defendant, transferred

approx imately $2 . 3 million to a bank account associated with

JOHN GALANIS, a/k/a " Yanni," the defendant, which JOHN GALANIS

used for personal expenses.     In addition, between on or about ·

August 27, 2014 and on or about October 30, 2015, JASON GALANIS

                                  lO




                                                                       USAO-SDNY_012247
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 33 of 45




used approximately $8,750,000 transferred by DUNKERLEY to the

Jason Galanis Account for his own personal expenses, including:

at least $5,000,000 for expenses associated with JASON GALANIS's

home; at least $1,250 ,000 to pay various law firms; at least

$875,000 in payments to various members of the JASON GALANIS's

family; at least $500,000 in payments to the IRS; at least

$200,000 on automobile-related expenses; at least $75,000 for

restaurants and other food-related expenses; at least $75,000

for travel expenses; at least $40,000 in payments to JASON

GALANIS directly; at least $350,000 in clothing and jewelry

purchases; at least $55,000 in ATM withdrawals; and at least

$100,000 in miscellaneous personal expenses.

     19.   JASON GALANIS, the defendant, and others, communicated

by email, among other means, about the use of the

misappropriated funds .   For example, on or about August 13,

2014, JASON GALANIS emailed DEVON ARCHER, the defendant, about a

business entity that HUGH DUNKERLEY, the defendant, was tryirig

to acquire, noting:   u[first name]    and Hugh [Dunkerley] have

locked it up and came to me for the money, which I have agreed

to arrange/provide (probably Indians)."

     20.   During the same period, JASON GALANIS, the defendant,

transferred significant amounts from the Jason Galanis Account

to various co-defendants, including at least $1 . 3 million to an




                                  11




                                                                       USAO-SDNY_012248
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 34 of 45




entity controlled by GARY HIRST and HUGH DUNKERLEY, the

defendants.

PROCEEDS OF THE FIRST BOND ISSUANCE ARE RECYCLED TO PURCHASE THE
                SECOND AND THIRD. BOND ISSUANCES

     21.    As a further part of the scheme to defraud, JASON

GALANIS, HUGH DUNKERLEY, DEVON ARCHER, and BEVAN COONEY, the

defendants, misappropriated $20 million from the proceeds of the

First Bond    Is suanc~   and used the money to purchase the Second

and Third Bond Issuances.        Specifically:

             a.   In or about September 2014, JASON GALANIS, the

defendant, transferred approximately $15 million from the

proceeds of the First Bond . Issuance via an intermediary to an

entity controlled by DEVON ARCHER, the defendant.       ARCHER then

used the funds to purchase the entirety of the Second Bond

Issuance.     In or about October 2014, in connection with ARCHER'S

attempt to deposit the bonds into a brokerage firm account under

his control, ARCHER falsely represented to the brokerage firm

that the funds he had used to purchase the Second Bond Issuance

came from real estate sales.

             b.   In or about October 2014, JASQN GALANIS, the

defendant, transf erred $5 million from the proceeds of the First

Bond Issuance to BEVAN COONEY, the defendant.        COONEY then used

the funds to purchase the entirety of the Third Bond Issuance.




                                     12




                                                                        USAO-SDNY_012249
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 35 of 45




     22.    As a result of this recycling, although the face

amount of WLCC bonds outstanding increased and the amount of

interest payable by the WLCC increased, the actual bond proceeds

availqble for investment on behalf of the WLCC did not increase.

     23.    JASON GALANIS, BEVAN COONEY, and DEVON ARCHER, the

defendants, then used the bonds purchased with the recycled

proceeds of the First Bond Issuance to, among other things,

support other business endeavors.      For example, ARCHER provided

$2.6 million of bonds to the Placement Agent to meet its net

capital requirements as a registered broker-dealer under

applicable SEC regulations and COONEY transferred $5 million of

bonds to another registered broker-dealer for the same purpose.

           The Defendants Make Interest Payments to the WLCC

     24.     Pursuant to the Bond Agreements, regular interest

payments were due on each of the Bond Issuances and were to be

derived from annuity distributions.      For example:

             a.   The first interest payment of $1,546,417.13 was

due on the First Bond Issuance on or before September 1, 2015.

             b.   The first interest payment of $903,000 was due on

the Second Bond Issuance on or about September 30, 2015.

             c.   The first interest payment of $294,311.11 was due

on the Third Bond Issuance on or about September 30, 2015.

             d.   The first interest payment of $1,013,166 was due

on the Fourth Bond Issuance on or about May 1, 2016.

                                  13




                                                                       USAO-SDNY_012250
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 36 of 45




     25.   Interest payments on the Bond Issuances, however, did

not derive from annuity distributions because the bond proceeds

had not been invested as provided in the Bond Agreements.

Instead, at the direction of JASON GALANIS, the defendant, the

first interest payments on the First, Second and Third Bond

Issuances were made using funds provided directly or through

entities or accounts controlled by JASON GALANIS, HUGH

DUNKERLEY, GARY HIRST, and DEVON ARCHER, the defendants .    No

interest payment on the Fourth Bond Issuance was ever made.

                       Statutory Al legations

     26.   From at least in or about March 2014 through in or

about April 2016 , in the Southern District of New York and

elsewhere, JASON GALANIS, GARY HIRST, JOHN GALANIS, a/k/a

"Yanni," HUGH DUNKERLEY, MICHELLE MORTON, DEVON ARCHER, and

BEVAN COONEY, the defendants, and others known and unknown ,

willfully and knowingly did combine, conspire, confederate, and

agree together and with each other to commit an offense against

the United States, to wit, securities fraud, in violation of

Title 15, United States Code, Sections 7Bj (b) and 7Bff, and

Title 17, Code of Federal Regulations, Section 240.lOb-5.

     27.   It was a part and object of the conspiracy that JASON

GALANIS, GARY HIRST, JOHN GALANIS, a/k/a "Yanni," HUGH

DUNKERLEY, MICHELLE MORTON, DEVON ARCHER, and BEVAN COONEY, the

def e ndants, and others known and unknown, willfully and

                                 14




                                                                       USAO-SDNY_012251
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 37 of 45




knowingly, directly and indirectly, by use of the means and

instrumentalities of interstate commerce, and of the mails, and

of the facilities of national securities exchanges, would and

did use and employ manipulative and deceptive devices and

contrivances, in connection with the purchase and sale of

securities, in violation of Title 17, Code of Federal

Regulations, Section 240.lOb-5, by (a) employing devices,

schemes, and artifices to defraud;    (b) making untrue statements

of material fact and omitting to state material facts necessary

in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and

(c) engaging in acts, practices, and courses of business which

operated and would operate as a fraud and deceit upon persons,

in violation of Title 15, United States Code, Sections 78j (b)

and 78ff.

                             Overt Acts

     28.    In furtherance of the conspiracy and to effect its

illegal object, the following overt acts, among others, were

committed in the Southern District of New York and elsewhere:

            a.   In approximately March 2014, JOHN GALANIS, a/k/a

"Yanni," the defendant, met with employees of and advisers to

the WLCC at a Native American economic development conference in

Las Vegas, Nevada.




                                 15




                                                                       USAO-SDNY_012252
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 38 of 45




           b.    On or about July 21, 2014, MICHELLE MORTON, the

defendant, sent a text message to JASON GALANIS, the defendant,

stating,   "Should know how$   [sic] we can proceed with bonds soon
                      I



getting information."     JASON GALANIS responded,   "i'm confident

you will figure it out."

           c.    On or about August B, 2014, HUGH DUNKERLEY, the

defer:idant, signed an agreement pursuant to which he bound the

broker-dealer at which he was employed to serve as the placement

agent for an issuance of bonds by the WLCC.

            d.   On or about August 22, 2014, GARY HIRST, the

defendant, sent an email containing trade tickets signed by him

authorizing the purchase of certain bonds issued by the WLCC on

behalf of certain clients of Hughes.

            e.   On or about October 1, 2014 1 DEVON ARCHER 1 the

defendant, caused the transfer of $15,000,000 from a brokerage

account located in New York, New York for the purchase of

$15,000,000 of bonds issued by the WLCC, which bonds were also

held, for a period of time, in the brokerage account located in

New York, New York.

            f.   On or about October 9 1 2014 1 BEVAN COONEY, the

defendant 1 caused the transfer of $5,000,000 from an account in

hi s name for the purchase of $5,000,000 of bonds issued by the

WLCC.

             (Title 18 1 United States Code 1 Section 371.)

                                   l6




                                                                       USAO-SDNY_012253
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 39 of 45




                             COUNT TWO
                         (Securities Fraud)

     The Grand Jury further charges:

     29.   The allegations contained in Paragraphs 1 through 25

and 28 are repeated, realleged, and incorporated by reference as

though fully set forth herein.

     30.   From at least in or about March 2014 through in or

about April 2016, in the Southern District of New York and

elsewhere, JASON GALANIS, GARY HIRST, JOHN GALANIS, a/k/a

"Yanni," HUGH DUNKERLEY, MICHELLE MORTON, DEVON ARCHER, and

BEVAN COONEY; the defendants, and others known and unknown,

willfully and knowingly, directly and indirectly, by use of the

means and instrumentalities of. interstate commerce, arid of the

mails, and of the facilities of national securities exchanges,

used and employed manipulative and deceptive devices and

contrivances, in connection with the . purchase and sale of

securities, in violation of Title 17, Code of Federal

Regulations, Section 240.lOb - 5, by (a) employing devices,

schemes, and artifices to defraud;     (b) making untrue statements

of material fact and omitting to state material facts necessary

in order to make the statements made, in the light of the

circumstances unde r which they were made, not misleading; and

(c) engaging in acts, practices, and courses of business which

operated and would operate as a fraud and deceit upon persons,



                                 l7




                                                                       USAO-SDNY_012254
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 40 of 45




to wit, the defendants engaged in a scheme to misappropriate the

proceeds of several bond issuances by the WLCC and also caused

investor funds to be used to purchase the bonds,    for which there

was no secondary market through which such bonds could be

redeemed, without disclosure to those investors of material

facts,   including the existence of multiple conflicts of

interest, and which investments, in some cases, were outside the

investment parameters of the accounts in which they were placed.

      (Title 15, United States Code, Sections 78j (b) & 78ff;
  Title 17, Code of Federal Regulations, Section 240.lOb-5; and
             Title 18, United States Code, Section 2.)

                             COUNT THREE
           (Conspiracy to Commit Investment Adviser Fraud)

     The Grand Jury further charges:

     31.    The allegations contained in Paragraphs 1 through 25

and 28 are repeated, realleged, and incorporated by reference as

though fully set forth herein.

     32.    From at least in or about May 2014 through in or about

April 2016, in the Southern District of New York and elsewhere,

JASON GALANIS, GARY HIRST, and MICHELLE MORTON,    the defendants,

and others known and unknown, willfully and knowingly did

combine, conspire, confederate, and agree together and with each

other to commit an offense against the United States, to wit,

investment adviser fraud,   in violation of Title 15, United

States Code, Sections 80b-6 and 80b-17.



                                 18




                                                                       USAO-SDNY_012255
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 41 of 45




     33.    It was a part and object of the conspiracy that JASON

GALANIS, GARY HIRST, and MICHELLE MORTON, the defendants, and

others known and unknown, willfully and knowingly wouid and did

use the mails and other means and instrumentalities of

interstate commerce, directly and indirectly,           (a) to.employ a

device,    scheme, and artifice to defraud clients and prospective

clients;    (b) to engage in a transaction, practice, and course of

business which operated as a fraud and deceit upon clients and

prospective clients; ahd (c) to engage in an act,· practice, and

course of business which was fraudulent, deceptive, and

manipulative, in violation of Title 15, United States Code,

Sections BOb-6 and BOb-17.

                                Overt Acts

     34.     In furtherance of the conspiracy and to effect its

illegal object, the following overt acts, among others, were

committed in the Southern District of New York and elsewhere:

             a.   On or about July      2~,   2014, MICHELLE MORTON, the

defendant, sent a text message to JASON GALANIS, the defendant,

stating,    "Should know how$   [sic]    w~   can proceed with bonds soon

getting information."     JASON GALANIS responded,        "i'm confident

you will figure it out."

             b.   On or about August 22, 2014, GARY HIRST, the

defendant, sent an email containing trade tickets signed by him




                                        19




                                                                            USAO-SDNY_012256
    Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 42 of 45




authorizing the purchase of certain bonds issued by the WLCC on

behalf of certain clients of Hughes.

              (Title 18, United States Code, Section 371.)

                              COUNT FOUR
                      (Investment Adviser Fr aud)

     The .Grand Jury further charges:

     35.   The allegations contained in Paragraphs 1 through 25,

28 and 34 are repeated, realleged, and incorporated by reference

as though fully set forth herein.

     36.   From at least in or about May 2014 through in or about

April 2016, in the Southern District of New York and elsewhere,

JASON GALANIS, GARY HIRST , and MICHELLE MORTON , the defendants,

·willfully and knowingly used the mails and other means and

instrumentalities .of interstate commerce, direct l y and

indirectly,    (a) to employ a device, scheme, and artifice to

defraud clients and prospective clients;     (b) to engage in a

transaction, practice, and course of business which operated as

a fraud and deceit upon clients and prospective clients; and (c)

 to engage in an act, practice, and course of business which was

 fraudulent, deceptive, and manipulative, to wit, HIRST and

. MORTON, who were employees of a registered investment adviser

 and thus had fiduciary duties to their investment advisory

 clients, with the knowledge and approval of JASON GALANIS,

 intentionally withheld material information from their clients



                                  20




                                                                        USAO-SDNY_012257
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 43 of 45




regarding purchases of bonds issued by the WLCC, including the

existence of multiple conflicts of interest and the fact that

the purchases were outside the investment parameters set forth

in the investment advisory agreements of certain clients, for

the purpose of profiting from the placement of such bonds.

    (Title 15, United States Code, Sections 80b-6 and 80b-17;
          and Title .18, United States Code, Section 2.)

       FORFEITURE ALLEGATION AS TO COUNTS ONE THROUGH FOUR

     37.     As a result of committing one or more of the offenses

alleged in Counts One through Four of this Indictment, JASON

GALANIS, GARY HIRST, JOHN GALANIS, a/k/a "Yanni," HUGH

DUNKERLEY, MICHELLE MORTON, DEVON ARCHER, and BEVAN COONEY, the

defendants, shall forfeit to the United States pursuant to Title

18, United States Code, Section 98l(a) (1) (C) and Title 28,

United States Code Section 2461, any property, real or personal,

that constitutes or is derived from proceeds traceable to the

commission of .the offenses alleged in Counts One through Four of

this Indictment.

                      Substitute Assets Provision

     38.     If any of the above-described forfeitable property, as

a result of any act or omission by any of the defendants:

             a.   cannot be located upon the exercise of due

diligence;




                                  21




                                                                       USAO-SDNY_012258
   Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 44 of 45




            b.        has been transferred or sold to, or deposited

with, a third party;

            c.        has been placed beyond the jurisdiction of the

court;

            d.        has been substantially diminished ·in value; or

            e.        has been commingled with other property which

cannot be divided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code Section 2461, to seek forfeiture of any other property of

the defendants up to the value of the forfeitable property

described above.

         (Title 18, United States Code, Section 981 (a) (1) (C);
            Title 21 , United States Code, Section 853(p);
               · le 28 United States Code, Section 2461.)
                  -       ~~
                 ---~--FOREPERSON
                        ··· =·= -~~~ ·7~
                                     PREET BHARARA
                                            United States.Attorney




                                       22




                                                                        USAO-SDNY_012259
Case 1:16-cr-00371-RA Document 301-4 Filed 01/22/18 Page 45 of 45




             Form No. USA-33s-274 (Ed. 9-25-58)


                UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                            - v. -

                        JASON GALANIS,
                          GARY HIRST,
                 JOHN GALANIS, a/k/a "Yanni,"
                       HUGH DUNKERLEY,
                       MICHELLE MORTON,
                         DEVON ARCHER,
                      and BEVAN COONEY,

                         Defendants.


                   SUPERSEDING INDICTMENT

                     Sl 16 Cr.     371 (RA)

           (Title 15, United States Code, Sections
            78j (b), 78ff, BOb-6 and BOb-17; Title
          17, Code of Federal Regulations, Section
                           240.lOb-5;
           Title 18, United States Code, Sections
                          371 and 2.)




                                         PREET BHARARA
                                        U.S. Attorney.




                              23




                                                                    USAO-SDNY_012260
